      Case 1:14-cr-10363-RGS Document 2323 Filed 06/15/22 Page 1 of 2



                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
                  CRIMINAL ACTION NO. 14-10363-RGS

                       UNITED STATES OF AMERICA
                                       v.
                          GREGORY CONIGLIARO,
                           SHARON P. CARTER


                 ORDER ON MOTIONS FOR A NEW TRIAL

                                 June 15, 2022

STEARNS, D.J.
      These cases were remanded by the First Circuit Court of Appeals for a
ruling on motions for a new trial after the appellate panel rejected this court’s
entry of judgments of acquittal on defendants’ convictions under 18 U.S.C.
§ 371. See United States v. Carter, 15 F.4th 26 (1st Cir. 2021). In entering
the judgments of acquittal, the court had declined (mistakenly) to rule on the
motions for a new trial. The reason for so declining rested on the court’s
assessment that the issue was not one of sufficiency of evidence, but rather
one of legal impossibility and denial of due process.
      While the court’s power under Rule 33 to grant a motion for a new trial
is greater than its power to grant a motion for acquittal, see United States v.
Tothrock, 806 F.2d 318, 318 (1st Cir. 1986), “[t]he remedy of a new trial is
rarely used; it is warranted ‘only where there would be a miscarriage of
justice’ or ‘where the evidence preponderates heavily against the verdict,’”
          Case 1:14-cr-10363-RGS Document 2323 Filed 06/15/22 Page 2 of 2




United States v. Andrade, 94 F.3d 9, 14 (1st Cir. 1996) (internal citation
omitted). See also United States v. Rivera Rangel, 397 F.3d 476, 486 (1st
Cir. 2005) (on a motion for a new trial, a district court does not sit as a
thirteenth juror seeking out a result more to its liking).
      Neither of those considerations apply here.        Defendants raise the
same arguments regarding rulings on evidentiary issues that the court has
rejected previously in their cases, as well as those of the many other
defendants caught up in the New England Compounding Center disaster.
The court, after long and careful review, sees no utility in plowing the same
grounds yet again. 1 The court will consequently deny the motions for a new
trial and order the Clerk to set the cases for hearings on a sentence.

                                      SO ORDERED.
                                      /s/ Richard G. Stearns__________
                                      UNITED STATES DISTRICT JUDGE




      1 The parties were invited to submit supplemental briefings and
argument. They did so, although no issue has been raised that had not been
rehearsed in prior proceedings. In other words, there is nothing this court
could say that would add in any material aspect to the record that will be
available to the Court of Appeals should there be a further review.
